 

CB_S€ 6216-bk-O4406-KS.] DOC 58-1 Fl|€(] 04/25/1/

American Land Tit|e Association

I-'age 1 OT 4
ALTA Settlement Statement - Combined
` Adopted 05-01-2015

 

 

FileNo./Escrow No.: 16-456

Print Date & Time:12/7/2016 @ 10:52 Ai\/|
Officer/Escrow Officer: i\/|arlene Benner
Settlement Location: `

605 E. Robinson Street #720

Orlando, F|orida 32801

Prominence Title & Escrow, LLC

605 E. Robinson Street #720
Orlando, F|orida 32801

 

 

Property Address: 106 Camino Circle, Ormond Beach, Fiorida 32174

Buyer: Allen G. Hudson and Bonnie L. Hudson

Sel|er: Arvind |Vlahendru, Bankruptcy Trustee in the matter of Wii|iam C. King, Jr. and Tammee King, debtors, United States Bankruptcy
Court, l\/iidd|e District of Florida, Or|ando District, Case No. 6:16-bk-04406-RAC

Lender: CASH SALE

SettlementDate:12/8/2016
DisbursementDate:12/9/2016
Additional dates per state requirements

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Seller- .': Description Borrower/Buyer
Debit Credit Debit Cred it
Financia|
' $134,000.00 Sales Price of Property $134,000.00
Deposit including earnest money i $1,200.00
Tit|e Charges & Escrow / Settlement Charges
$745-00 Tit|e - Owner's Coverage Premium (Optional) to Prominence Tit|e
_ & Escrow, LLC z
_ $900.00 Tit|e - Settlement Fee to Prominence Tit|e & Escrow, LLC $550.00 l
$3_28 Tit|e - Statutory Surcharge Fee to Westcor Land Tit|e lnsuran¢e
Company
$60.00 Title - Title Search Fee to Westcor Land Title insurance Company __
Commission
$2'680_00 :re:;:::i::e Commission (Buyer) to Weichert Realtors Hal|mark
$5,360.00 Rea| Estate Commission (Seller) to Century 21 Carioti
Government Recording & Transfer Charges
Recording Fees to Simp|ifile $10.00
E-Recording Fee to Simplifile $9.00
_ Record Order Approving Sale to Simp|ifile $35.50
$938.00 z Transfer Taxes - Deed State to Simp|ifi|e __
Payoff(s)
6114,211.87 Lender: Carrington
Principai Baiance ($114,211.87) l
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Case 6:16-bk-O4406-KS.] DOC 58-1 Fl|ed 04/25/17 Page 2 014

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lnterest on Payoff Loan ()

 

 

|Vlisce|laneous

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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$120.00 _ §506(€) Security & Preservation cost to BK G|oba|
l 2016 Property Taxes PAiD 11/22/16 to Volusia County Tax
_ Co|lector (POC by Sel|er: $989.35)
581861_85 \i:;;itlalitaer::;t|c)a::i;cei }i;/i|:;endru BKTrustee-for the Estate of
$50.00 l HOA Estoppe| Fee to E|ite Property Research l
|\/|obi|e Closing Fee to Signature Closers Network $135.00
F $70.00 l l\/|unicipa| Lien Certificate Fee to E|ite Property Research `
_ ' '_"`I
` Sel|er Description ‘ Borrower/Buyer l
Debit ` . credit Debit l credit
$134,000.00 $134,000.00 Subtota|s $134,739.50 $1,200.00
Due From Buyer $133,539.50
Due From Sel|er
Copyright 2015 American Land Title Association. Page 2 Of 3 Fi|e #: 16-456

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Acknow|edgement

We/I have carefully reviewed the ALTA Settlement Statement and find it to be a true and accurate statement of all receipts and
disbursements made on my account or by me in this transaction and further certify that l have received a copy of the ALTA Settlement
Statement. We/| authorize Prominence Tit|e & Escrow, LLC to cause the funds to be disbursed in accordance with this statement.

Buyer: >(

Al|en G. Hudson

Buyer: vi

Bonnie L. Hudson

alien >l WMMHAJML'

Arvind |\/lahendru Bi< Trustee for the Estate of Wi||iam &
Tammee King

 

l have reviewed the Closing Disc|osure, the settlement statement, the lender's closing instructions and any and all other forms
relative to the escrow funds, including any disclosure of the F|orida title insurance premiums being paid, and | agree to disburse the
escrow funds in accordance with the terms of this transaction and F|orida law.

m illumngon

Escrow officerl MARLENE BENNER `

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Page 3 of 3

Fi|e #: 16-456
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vut`_;\_, \J..l.u ur\ V'-r'-rvu l\\_)\.l L/\Jb JO'J. l_llCu U'-l-ILJIJ.I FG.HC '-l- Ul `:l-
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Buyer: >M¢% /L/Zé‘ galen x

Al|en G. Hudson Arvind Mahendru BK Trustee for the Estate of Wil|iam &

Tammee King
Buyer: %w»o f word

Bonnie L. Hudson 4

 

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Escrow Officer i\_nz\._c)i__i_:_r\u: BENNER ‘
MARLENE.BENNER "

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